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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                                                MDL No. 3010


                ORDER VACATING CONDITIONAL TRANSFER ORDER


         Before the Panel: The action listed on Schedule A (Klein) encompasses two consolidated
class action complaints against defendant Meta Platforms, Inc., f/k/a Facebook, Inc. (“Facebook”)
concerning Facebook’s alleged monopolization of certain markets – one on behalf of Facebook
advertisers concerning the Social Advertising Market (the “Klein Advertiser Action”) and
the other on behalf of Facebook users concerning the Social Network and Social Media Market
(the “Klein Consumer Action”). The Klein Advertiser Action asserts three federal antitrust claims
involving, among other things, an alleged anticompetitive agreement between Google and
Facebook concerning their online advertising practices, which overlaps with the claims regarding
the Google-Facebook agreement in the MDL. 1 The Klein Consumer Action does not involve
claims that overlap with the MDL. On March 21, 2022, a conditional transfer order (“CTO”)
issued providing for transfer of Klein under Section 1407(a) with simultaneous separation and
remand of the Klein Consumer Action. The CTO, if finalized, thus would effectuate the transfer
of all three claims in the Klein Advertiser Action to the Southern District of New York for inclusion
in MDL No. 3010.

        Pursuant to Panel Rule 7.1, plaintiffs in the Klein Advertiser Action and the advertiser
plaintiffs in MDL No. 3010, respectively, filed motions to vacate the CTO. In the alternative, the
Klein Advertisers ask the Panel to separate and remand their monopolization claims against
Facebook (Counts I and II), thus limiting transfer solely to their Section 1 claim asserting unlawful
agreement in restraint of trade (Count III). Defendant Facebook opposes the motions to vacate
and supports transfer of the Klein Advertiser Action in its entirety. In the alternative, Facebook
requests that the Panel transfer, at minimum, Count III. Google, the common defendant in the
MDL, did not file a response to the motions, but previously submitted a notice stating that it
supports transfer of Count III, and takes no position on transfer of Counts I and II.

      After considering the argument of counsel, we find that transfer of this action will not
promote the just and efficient conduct of this litigation. In the order establishing MDL No. 3010,


1
 Counts I and II of the Klein Advertiser Action assert claims for monopolization and attempted
monopolization of the Social Advertising Market in violation of Section 2 of the Sherman Act.
Count III asserts a claim for unlawful agreement in restraint of trade in violation of Section 1.
Facebook is the sole defendant for all claims.
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we explained that “[t]he actions concern Google’s alleged monopolization and suppression of
competition in online display advertising – essentially, the marketplace for the placement of digital
display ads on websites and mobile apps,” and held that centralization was warranted based on the
common factual core concerning “the allegation that Google has monopolized or suppressed
competition in online display advertising services in violation of federal antitrust law . . . .” See
In re Digital Advertising Antitrust Litig., 555 F. Supp. 3d 1372, 1375 (J.P.M.L. 2021). We
described several common factual questions among the actions, including, inter alia, questions
involving an alleged anticompetitive agreement between Google and Facebook to suppress “the
alleged ‘header bidding’ threat to Google’s market position.” 2 See id. The Klein Advertiser
Action undoubtedly raises factual questions concerning the Google-Facebook agreement that
overlap with the Google-Facebook agreement questions in the MDL. However, the non-common
issues far exceed the common issues. In particular, the principal allegations in the Klein Advertiser
Action concern Facebook’s alleged monopolization of the Social Advertising Market – a claim
that involves years of alleged conduct that is uniquely about Facebook – and is not an issue in the
MDL. We believe that expanding MDL No. 3010 in this manner would undermine the efficient
conduct of the pretrial proceedings currently underway.

         We deny Facebook’s request, in the alternative, to separate Count III from the rest of the
Klein Advertiser Action, for inclusion in the MDL. The Google-Facebook agreement is at issue
in all three counts of the Klein Advertiser Action, not just Count III. Thus, splitting up the claims
in this manner would produce few, if any efficiencies. In our judgment, efficiencies will be
maximized by allowing the Northern District of California court to preside over all three claims in
the Klein Advertiser Action, and continue its ongoing coordination of discovery and pretrial
motions with the Klein Consumer Action. 3

        In these circumstances, informal cooperation among counsel and coordination among the
involved courts are, in our judgment, preferable to transfer. We note that plaintiffs’ counsel in the
Klein Advertiser Action is one of the co-lead counsel in MDL No. 3010, and thus is well-situated
to voluntarily coordinate any overlapping pretrial proceedings concerning the Google-Facebook
agreement. Defendant Facebook, which is a defendant in 27 of the 30 actions in the MDL, also is
well-situated to maximize efficiencies from informal coordination.

      IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
CTO-7 is vacated.




2
 “Header bidding allegedly involves code that publishers insert into the header section of their
webpages that allows them to obtain bids from non-Google exchanges.” See In re Digital
Advertising Antitrust Litig., 555 F. Supp. 3d. at 1375 n.5.
3
  The Klein Advertiser and Consumer Actions have been consolidated for over a year, and during
this time, the parties have engaged in significant coordinated discovery and motions practice.
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                       PANEL ON MULTIDISTRICT LITIGATION




                      _________________________________________
                                   Karen K. Caldwell
                                        Chair

                     Nathaniel M. Gorton     Matthew F. Kennelly
                     David C. Norton         Roger T. Benitez
                     Dale A. Kimball         Madeline Cox Arleo
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IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                              MDL No. 3010


                                    SCHEDULE A

           Northern District of California

     KLEIN, ET AL. v. META PLATFORMS, INC., C.A. No. 3:20-08570
